      Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 1 of 14



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16
                                UNITED STATES DISTRICT COURT
17                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
18
      In re: Cathode Ray Tube (CRT)                     Master File No. 3:07-md-05944-SC
19    ANTITRUST LITIGATION
                                                        MDL No. 1917
20    This Document Relates To:
21

22    DIRECT ACTION PLAINTIFF ACTIONS                   DIRECT ACTION PLAINTIFFS’
                                                        RENEWED MOTION TO COMPEL
23                                                      DEFENDANTS TO PRODUCE THE
                                                        EUROPEAN COMMISSION DECISION
24

25                                                      Judge: Honorable Samuel Conti
                                                        Court: Courtroom 1, 17th Floor
26                                                      Date: October 24, 2014
                                                        Time: 10:00 a.m.
27

28
     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION
     TO COMPEL DEFENDANTS TO PRODUCE                                        Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
         Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 2 of 14



 1                               NOTICE OF MOTION AND MOTION
 2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3           PLEASE TAKE NOTICE that the Direct Action Plaintiffs (“DAPs”) 1 hereby move this
 4   Court for an order compelling the production of a European Commission (“EC”) decision
 5   (“Decision”) from Defendants Chunghwa Picture Tubes, Ltd., LG Electronics, Philips, Samsung
 6   SDI, Toshiba Corp., Panasonic, and MTPD (collectively “Defendants”).
 7           This motion is based upon this Notice of Motion, the accompanying Memorandum of
 8   Points and Authorities, accompanying exhibits, the Court’s March 26, 2014 Order Denying
 9   Motion to Compel (“Order” and “Exhibit 1”) (ECF No. 2463), the complete files and records in
10   this action, and such other matters as the Court may consider.
11                       MEMORANDUM OF POINTS AND AUTHORITIES
12           I.     STATEMENT OF ISSUE
13           Given the rapidly approaching March 2015 trial date and the Court’s admonition that it
14   does not intend to move this trial date, whether the Court should now order the production of a
15   highly relevant decision authored by the European Commission, reflecting an investigation by
16   the EC into an illegal global conspiracy to fix the prices for cathode ray tubes (the same
17   conspiracy alleged by DAPs here), given that:
18           (i) the EC indicated nearly two years ago that it would release a public version of
             the document, but has thus far failed to do so;
19
             (ii) Despite Defendants’ representation to the Court six months ago that
20
             publication prior to the end of fact discovery was likely, publication has not
21           occurred, and Defendants have given no indication as to when publication will
             occur; and
22
     1
23      For purposes of this Renewed Motion, the DAPs include the following entities: ABC
     Appliance, Inc. d/b/a ABC Warehouse; Best Buy Co., Inc., Best Buy Purchasing LLC, Best Buy
24   Enterprise Services, Inc., Best Buy Stores, L.P., BestBuy.com, L.L.C., and Magnolia Hi-Fi,
25   LLC; Interbond Corporation of America, CompuCom Systems, Inc., Costco Wholesale Corp.,
     Dell Inc., and Dell Products L.P.; Electrograph Systems, Inc., and Electrograph Technologies
26   Corp.; MARTA Cooperative of America, Inc.; Office Depot, Inc.; P.C. Richard & Son Long
     Island Corp.; Schultze Agency Services LLC on behalf of Tweeter Opco, LLC, and Tweeter
27   Newco, LLC; Sears Roebuck and Co., and Kmart Corp.; Alfred H. Siegel, as Trustee of the
     Circuit City Stores, Inc. Liquidating Trust; Target Corp.; Tech Data Corp., and Tech Data
28   Product Management, Inc.; and ViewSonic Corporation.
     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION
     TO COMPEL DEFENDANTS TO PRODUCE                 1                        Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
      Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 3 of 14



            (iii) the EC has made a partially redacted copy of the same Decision available in
 1          another proceeding, Vichi v. Koninklijke Philips Electronics, N.V., 85 A.3d 725,
 2          751 & n.180 (Del. Ch. 2014).

 3          II.     INTRODUCTION

 4          The DAPs request the same relief now that they requested from the Court six months

 5   ago: that the Court order the production of the Decision, notwithstanding its confidentiality,

 6   because of its indisputably high relevance to the very conspiracy alleged by the DAPs. In

 7   March, the Court denied the motion without prejudice. Ex. 1. While recognizing that the

 8   conspiracy at issue in the Decision was the same conspiracy alleged in this action and that the

 9   Decision was thus clearly relevant to the DAPs’ claims, Ex. 1 at 5, the Court nonetheless held

10   that, because of Defendants’ representation that the EC was likely to release a public version of

11   the Decision prior to the close of fact discovery on September 5, 2014, the interests of comity

12   made it premature to order production of the Decision. However, after being advised that the

13   Decision’s publication was dependent, in part, upon the efforts of Defendants, the Court advised

14   Defendants “to proceed apace with their collaboration in the EC’s public version of the

15   Decision.” Ex. 1 at 6.

16          Six months later—and nearly two years after stating that it was working towards a “quick

17   publication”—the EC has still not issued a public version of the Decision. Moreover, despite

18   repeated requests to the Defendants to reveal when the Decision would be published, Defendants

19   as late as last week could provide no specific information as to the timing of the publication. Ex.

20   2, Sept. 4, 2014 Ltr. from R. Brass to A. Nardacci. Given the pendency of the March trial date

21   set by the Court, and that the fact discovery period is now over, the DAPs can wait no longer.

22   The DAPs are focused on preparing their cases for trial and further delay in the production of the

23   Decision by the EC will prejudice their attempts to do so. As nearly two years have passed,

24   comity no longer trumps the interests of the Court in ensuring that this highly relevant document

25   is produced in time for it to be used in connection with the March 2015 trial. For these reasons,

26   the DAPs respectfully request that the Court grant the DAPs’ Renewed Motion to Compel

27   Defendants to Produce the European Commission Decision.

28
     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION       2
     TO COMPEL DEFENDANTS TO PRODUCE                                            Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
         Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 4 of 14



 1           In the alternative, the DAPs ask the Court to request assistance from the EC to obtain the
 2   Decision, in the exact same fashion as another court in the United States successfully did in the
 3   recent Vichi case.    There, in an action regarding debts allegedly owed to the plaintiff by
 4   Koninklijke Philips (one of the cartel members), the plaintiff had unsuccessfully attempted to
 5   obtain a copy of the Decision from Koninklijke Philips. Vichi, 85 A.3d at 751. Koninklijke
 6   Philips refused to produce the decision, asserting essentially identical arguments to those raised
 7   by Defendants in this case. The plaintiff then asked the Delaware Chancery Court to intercede
 8   and request “international assistance [of] the EC.”       Id.   The court did so, and the EC
 9   subsequently provided a partially redacted copy of the Decision. Id. Vichi is therefore direct
10   precedent supporting the ability of the Court to obtain the Decision directly from the EC, as the
11   DAPs request.
12           III.     FACTUAL BACKGROUND
13           The Decision at the heart of this Renewed Motion to Compel was issued by the EC on
14   December 5, 2012. EC decisions, like the one sought here, generally contain comprehensive
15   recitation of facts that are determined through lengthy and thorough investigative and
16   adjudicatory processes.2
17           Although the DAPs have received a four-page summary of the Decision, Ex. 4, this
18   summary lacks the factual detail that the DAPs seek. It is the DAPs’ understanding that the full
19   Decision is the culmination of a massive investigation by the EC into the existence of the illegal
20   global conspiracy to fix the prices for cathode ray tubes as alleged by the DAPs in this case. In
21   the Decision, according to the summary, the EC details the factual basis for its finding that
22   Defendants participated in long-running cathode display tube and cathode picture tube cartels.
23   The EC found that the cartels “were among the most organised cartels that the Commission has
24   investigated.”   Cartel members “fixed prices, allocated market shares and customers and
25
     2
26     For example, the EC also issued a decision regarding the LCD conspiracy, with which this
     Court is familiar. That decision was 119 pages and contained nearly forty pages of detailed
27   factual description of the relevant conspiratorial contacts between competitors. See generally
     Ex. 3.
28
     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION       3
     TO COMPEL DEFENDANTS TO PRODUCE                                           Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
         Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 5 of 14



 1   restricted output.” The conspiracy was “highly organized” and reached “the worldwide level.”
 2   The EC levied fines of over €1.47 billion against the conspirator companies.
 3           While the Decision was confidential, the EC stated at the time the Decision was issued in
 4   2012 that the EC and “the companies involved [were] in the process of establishing” a redacted
 5   version of the Decision.3 Ex. 5. The EC noted that it was “trying to settle this issue as soon as
 6   possible with a view to a quick publication.” Id.
 7           On March 12, 2010, the Direct Purchaser Plaintiffs (“DPPs”) served Defendants with a
 8   document request seeking “[a]ll Documents relating to, prepared for, submitted to, or received
 9   from any foreign governmental or legislative investigative body, including … the European
10   Commission.”      Ex. 6, Req. No. 34; see also Ex. 7, Req. No. 30 (served Jan. 30, 2014).
11   Defendants refused to produce the Decision or any other documents responsive to this request.
12   After conferrals with plaintiffs’ counsel, see, e.g., Ex. 8, July 29, 2013 Ltr. from R. Alexander
13   Saveri to M. Scarborough; Ex. 9, Sept. 20, 2013 Ltr. from P. Iovieno to M. Scarborough, et al.,
14   Defendants continued to refuse to produce the Decision. Ex. 10, Nov. 5, 2013 Ltr. from R. Brass
15   to P. Iovieno.
16           IV.      PROCEDURAL BACKGROUND
17           On January 31, 2014, the DAPs filed a motion with the Special Master, the Honorable
18   Vaughn R. Walker, seeking to compel the production of the Decision. Ex. 11 (ECF No. 2446).
19   Defendants Chunghwa Picture Tubes, Ltd., LG Electronics, Philips, Samsung SDI, Toshiba
20   Corp., and MTPD Defendants responded on February 28, 2014. Ex. 12 (ECF No. 2449).
21           On March 4, 2014, the DAPs submitted a Statement of Recent Decision regarding Vichi
22   v. Koninklijke Philips Electronics, N.V., 85 A.3d 725, 751 & n.180 (Del. Ch. 2014). Ex. 13
23   (ECF No. 2448). Defendants responded on March 12, 2014. Ex. 14 (ECF No. 2452). On March
24   17, 2014, the DAPs submitted a reply to the Court, which addressed Defendants’ response to the
25   Statement of Decision. Ex. 15.
26
27
     3
       Of course, the DAPs note the inherent conflict of interest in permitting the release of a public
28   version to be dependent upon the actions of the wrongdoers.
     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION       4
     TO COMPEL DEFENDANTS TO PRODUCE                                           Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
      Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 6 of 14



 1           Judge Walker subsequently recommended that this Court withdraw its reference as to the
 2   motion to compel. The Court adopted that recommendation.
 3           On March 26, 2014, this Court denied without prejudice the DAPs’ motion to compel
 4   production of the Decision, citing, among other things, Defendants’ representation that they were
 5   working with the EC to finalize a public version and that publication was “likely” before the
 6   close of the fact discovery period.        Ex. 1 at 8.   Following the Court’s Order, the DAPs
 7   corresponded with Defendants to determine whether a public version of the Decision would be
 8   forthcoming. See Ex. 16, July 7, 2014 Ltr. from P. Iovieno to R. Brass; Ex. 17, Aug. 8, 2014 Ltr.
 9   from P. Iovieno to R. Brass. Defendants were unable to identify a date when the Decision will
10   be forthcoming. See Ex. 18, July 21, 2014 Ltr. from R. Brass to P. Iovieno; Ex.19, Aug. 14,
11   2014 Ltr. from R. Brass to P. Iovieno; Ex. 2, Sept. 4, 2014 Ltr. from R. Brass to A. Nardacci.
12           V.     ARGUMENT
13           In reaching its original decision on this issue, the Court relied primarily on the following
14   five factors identified in Société Nationale Industrielle Aérospatiale v. United States District
15   Court for the Southern District of Iowa, 482 U.S. 522, 544 n.28 (1987) (“Société Nationale”):
16           (1) The importance to the … litigation of the documents or other information
             requested; (2) the degree of specificity of the request; (3) whether the information
17           originated in the United States; (4) the availability of alternative means of
             securing the information; and (5) the extent to which noncompliance with the
18           request would undermine important interests of the United States, or compliance
19           with the request would undermine important interests of the state where the
             information is located.
20
     Ex. 1 at 3.
21
             The Court found that the majority of the Société Nationale factors weighed in favor of
22
     ordering the production of the Decision. First, Defendants had conceded that the DPPs’ request
23
     was sufficiently specific to encompass the Decision. Ex. 12 at 3 (“Defendants do not dispute the
24
     specificity of the request.”). And, on consideration, the Court found that the DPPs’ request
25
     satisfied two of the remaining four factors: the Decision was important to the litigation because
26
     of its spot-on relevance, Ex. 1 at 4-5; and, outside of the motion to compel, “there does not
27

28
     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION         5
     TO COMPEL DEFENDANTS TO PRODUCE                                             Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
      Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 7 of 14



 1   appear to be an alternative means of accessing the Decision without contravening EU law and
 2   policy.” Id. at 6. These factors are unchanged and still weigh in favor of production.
 3            Nonetheless, the Court found that at that time one of the Société Nationale factors,
 4   comity, “outweigh[ed the need for] discovery in this instance.” Ex. 1 at 7. This was so because,
 5   as Defendants argued at that time, “[t]his is not a time-sensitive issue. Fact discovery does not
 6   close for another six months … There is simply no reason for this Court to advance Plaintiffs’
 7   interests over those of the EC.” Ex. 12 at 4.        That is no longer the case. Fact discovery has
 8   closed, and the deadline for the filing of motions to compel is today, which means that there is
 9   every reason to advance Plaintiffs’ interest in redressing substantial injury by ordering
10   Defendants to produce the Decision now in time for it to be used connection with the upcoming
11   trial.
12            Comity, as this Court recognized, “is the recognition that one nation allows within its
13   territory to the legislative, executive, or judicial acts of another nation, having due regard both to
14   international duty and convenience, and to the rights of its own citizens or of other persons who
15   are under the protection of its laws.” Ex. 1 at 3 (quoting Société Nationale, 482 U.S. at 544; In
16   re Rubber Chems. Antitrust Litig., 486 F. Supp. 2d 1078, 1081 (N.D. Cal. 2007) (emphasis
17   added)). The Court, by denying the DAPs’ initial motion to compel with approximately six
18   months of discovery remaining, showed “due regard to international duty and convenience” of
19   the European Union—and the EC’s—laws and policies. Indeed, notwithstanding the fact that the
20   Decision concerns the formation and the duration of the same conspiracy at issue here, that it
21   concerns the geographic reach of the same conspiracy at issue here, that it concerns the price-
22   fixing activities of the same conspiracy at issue here, and that it concerns the same defendants’
23   attempts to conceal the same conspiracy at issue here, the Court deferred to the EU’s and EC’s
24   convenience and interest in privacy.
25            But comity, which the Supreme Court noted in Société Nationale refers to the “spirit of
26   cooperation,” is a two-way street. It is undisputed that the EC had notice both of this Court’s
27   decision, and of this proceeding’s deadlines, including the March 2015 trial date. See, e.g., Ex.
28   18, July 21, 2014 Ltr. from R. Brass to P. Iovieno (stating that Defendants had “provided the EC
     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION         6
     TO COMPEL DEFENDANTS TO PRODUCE                                              Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
      Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 8 of 14



 1   with courtesy copies of all the parties’ briefing on this issue … and notified them of [Plaintiffs’]
 2   most recent correspondence.”); Ex. 2, Sept. 4, 2014 Ltr. from R. Brass to A. Nardacci. Yet,
 3   despite the Court affording the EC an additional six months on top of over nearly one-and-a-half
 4   years to release a public version of the Decision, it has not done so.
 5           Ordering production of this highly relevant Decision now is further supported by the fact
 6   that the Court recognized that the EC was working with Defendants to issue a public version of
 7   the Decision and admonished Defendants to assist with that issuance before the close of fact
 8   discovery. For example, the Court noted that “the speedy development of a public version of the
 9   Decision is highly important,” Ex. 1 at 6, and stated that “Defendants are encouraged to proceed
10   apace with their collaboration in the EC’s public version of the Decision,” id. at 6, and also that
11   Defendants are “advised to assist in that task,” id. at 8. As noted above, even the fact that
12   Defendants are involved in determining when the public version of the Decision is issued raises a
13   conflict of interest, where any delay in the issuance of the Decision continues to prevent the
14   DAPs from obtaining it in time for its use at trial. While the DAPs conferred with Defendants on
15   numerous occasions in an attempt to obtain a date certain regarding the issuance of the public
16   version of the Decision—see Ex. 16, July 7, 2014 Ltr. from P. Iovieno to R. Brass; Ex. 17, Aug.
17   8, 2014 Ltr. from P. Iovieno to R. Brass—those efforts have proven utterly unsuccessful. Ex. 18,
18   July 21, 2014 Ltr. from R. Brass to P. Iovieno; Ex.19, Aug. 14, 2014 Ltr. from R. Brass to P.
19   Iovieno; Ex. 2, Sept. 4, 2014 Ltr. from R. Brass to A. Nardacci. Simply put, Defendants cannot
20   provide any specific information whatsoever regarding when the public version of the Decision
21   will be released. Id.
22           Finally, concerns over the Decision’s confidentiality should not prohibit the Court from
23   granting the DAPs’ Renewed Motion to Compel.             On June 18, 2008, this Court issued a
24   protective order in this case that safeguards highly confidential information. Ex. 20 (ECF No.
25   306.) Thereunder, once information is designated as highly confidential, it can only be used in
26   “prosecuting, defending, or attempting to settle this action.” Id. at § 7.1. It cannot be disclosed
27   in a way other than that specified by the protective order. Id. The DAPs would not challenge
28   any designation of the Decision as highly confidential. The protective order therefore resolves
     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION         7
     TO COMPEL DEFENDANTS TO PRODUCE                                             Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
         Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 9 of 14



 1   any concerns the EC may have over the confidentiality of the Decision, particularly given that
 2   the Decision includes every Defendant to this action.
 3           The DAPs thus believe the interests of comity are now outweighed by the DAPs’ interest
 4   in redressing harm caused by Defendants’ conspiracy. If this Court were to decline to compel
 5   production of the Decision, though, the DAPs would ask the Court to take the same action as the
 6   Vichi court.   There, in determining the liability of Koninklijke Philips for the debts of a
 7   subsidiary, the court addressed the plaintiff’s efforts at obtaining the same Decision at issue here.
 8   The plaintiff had been unable to do so on his own for the same reason that the DAPs cannot
 9   obtain it: the “actual decision is confidential and has not been made available to the public.” 85
10   A.3d at 751. At the plaintiff’s request, “th[e] court [] made a request for international assistance
11   to the EC.” Id. “In response, the EC made available a partially redacted copy of Section 6 of the
12   EC’s [D]ecision.”4 So too here, as the DAPs presume the EC would honor a similar request
13   from this Court, if the Court deemed it appropriate.5
14           VI.    CONCLUSION
15           The DAPs respectfully request that this Court order Defendants to produce the December
16   5, 2012 Decision of the European Commission regarding the illegal global conspiracy to fix
17   prices for cathode ray tubes. Alternatively, the DAPs ask this Court to request international
18   assistance from the European Commission to obtain a copy of the Decision, as was done by the
19   Vichi court.
20

21

22

23
     4
24     That copy showed that “the EC held Philips N.V. liable for its involvement in both the CPT and
     CDT price fixing cartels,” id., and made numerous other references to the factual underpinnings
25   of the CRT conspiracy. Id. Even the limited references to these factual findings in Vichi further
26   demonstrate the importance to the DAPs of obtaining the Decision here.
     5
       Of course, there is no need for the EC to redact any portion of the Decision here, as unlike the
27   Vichi case—where Koninklijke Philips was the only cartel member who was a party to the case
     and whose liability was thus at issue—all defendants implicated by the Decision are parties in
28   this action.
     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION       8
     TO COMPEL DEFENDANTS TO PRODUCE                                              Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
     Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 10 of 14



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                                                    Corporation, MARTA Cooperative of
21                                                  America, Inc., ABC Appliance, Inc., Schultze
22                                                  Agency Services LLC on behalf of Tweeter
                                                    Opco, LLC and Tweeter Newco, LLC and
23                                                  Tech Data Corporation and Tech Data
                                                    Product Management, Inc.
24
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25

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     TO COMPEL DEFENDANTS TO PRODUCE                                        Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
     Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 11 of 14



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     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION   10
     TO COMPEL DEFENDANTS TO PRODUCE                                      Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
     Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 12 of 14



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     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION   11
     TO COMPEL DEFENDANTS TO PRODUCE                                        Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
     Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 13 of 14



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     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION   12
     TO COMPEL DEFENDANTS TO PRODUCE                                        Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
     Case 4:07-cv-05944-JST Document 2843 Filed 09/12/14 Page 14 of 14



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     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION   13
     TO COMPEL DEFENDANTS TO PRODUCE                                       Master File No. 3:07-md-05944-SC
     THE EUROPEAN COMMISSION DECISION
